      CASE 0:18-cv-02109-NEB-KMM Document 1 Filed 07/23/18 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Jerald Boitnott,                                         Case Number:

                   Plaintiff,

v.                                                              NOTICE OF REMOVAL

Genuine Parts Company d/b/a Napa Auto
Parts and Blue Sky Coast L.L.C.,

                   Defendant.



       Defendant Genuine Parts Company d/b/a Napa Auto Parts (“Genuine Parts”), as

and for its Notice of Removal of this action to the United States District Court, District of

Minnesota, states that:

       1.     On June 28, 2018, plaintiff commenced this action in the District Court of

Ramsey County, Second Judicial District, for the State of Minnesota through service of

an Amended Summons and Amended Complaint on Genuine Parts. True and correct

copies of the Amended Summons and Amended Complaint (and Exhibits A and B)

served upon defendant Genuine Parts are attached as Exhibit 1 and filed with this Notice

of Removal.

       2.     This is a civil action in which this Court has original jurisdiction pursuant

to 28 U.S.C. § 1331, and is removable to this Court by defendant pursuant to the

provisions of 28 U.S.C. § 1441.
      CASE 0:18-cv-02109-NEB-KMM Document 1 Filed 07/23/18 Page 2 of 3



       3.     This civil action involves claims by plaintiff Jerald Boitnott for alleged

violations of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101 et seq.

Plaintiff alleges that Genuine Parts’ facility, which is owned by Blue Sky Coast L.L.C.,

in St. Paul, Minnesota does not comply with the ADA. Through his lawsuit, plaintiff

seeks remediation of alleged architectural barriers, modification of defendants’ ADA

policies and procedures and a monetary award, attorneys’ fees and litigation costs.

       4.     This case arises under the laws of the United States and involves a federal

question, and thus is within this Court’s jurisdiction under 28 U.S.C. § 1331. Because

this action arises pursuant to the laws of the United States in a matter over which this

Court has original jurisdiction, the action “may be removed by the defendant . . . to the

district court of the United States for the district and division embracing the place where

such action is pending.” 28 U.S.C. § 1441(a). Under the terms of 28 U.S.C. § 1441, the

entire action is removable.

       5.     This Notice of Removal was timely filed pursuant to 28 U.S.C. § 1446(b)

having been filed within thirty (30) days after service of the Amended Summons and

Amended Complaint upon defendant Genuine Parts.

       6.     Genuine Parts understands that Blue Sky Coast L.L.C. has not yet been

served with plaintiff’s lawsuit and is not yet required to consent to this removal under 28

U.S.C. § 1446(b).

       7.     Venue is proper in this District under 28 U.S.C. § 1391.

       8.     As required under 28 U.S.C. § 1446(d), defendant Genuine Parts will serve

a copy of this Notice of Removal on plaintiff and file the same with Ramsey County,


                                            2
      CASE 0:18-cv-02109-NEB-KMM Document 1 Filed 07/23/18 Page 3 of 3



Civil Division, Second Judicial District. A copy of the Notice of Filing of Notice of

Removal that defendant Genuine Parts will file and serve is attached as Exhibit 2.

       WHEREFORE, defendant Genuine Parts respectfully requests that this action be

removed in its entirety to the United States District Court for the District of Minnesota.



Date: July 23, 2018                           LARSON • KING, LLP

                                              By: s/ David M. Wilk
                                                   David M. Wilk (#222860)
                                                   Stephanie L. Chandler (#0395303)
                                              2800 Wells Fargo Place
                                              30 East Seventh Street
                                              St. Paul, Minnesota 55101
                                              Telephone: (651) 312-6500
                                              dwilk@larsonking.com
                                              schandler@larsonking.com

                                              ATTORNEYS FOR DEFENDANT
                                              GENERAL PARTS COMPANY
                                              d/b/a NAPA AUTO PARTS




                                             3
